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PETER WIRTH, AS PERSONAL REPRESENTATIVE
FOR THE ESTATE OF SANTIAGO SEBASTIAN ORTIZ,
SANDRA CORREA AND SANTIAGO ORTIZ,

        Plaintiffs,

v.

PHC-LAS CRUCES, INC., D/B/A MEMORIAL MEDICAL CENTER OF LAS CRUCES,
LIFEPOINT HEALTH, INC., LIFEPOINT RC, INC.,
VITTORIO TALEON, MD
IFEYINWA OBI, CNM,
LA CLINICA DE FAMILIA, INC.,
FIRST STEP CENTER, INC.,
UNITED STATES OF AMERICA, AND
LINDA VASQUEZ, R.N.

        Defendants.

     PLAINTIFFS’ COMPLAINT FOR MEDICAL NEGLIGENCE, WRONGFUL DEATH,
                         LOSS OF CONSORTIUM AND
               NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS,
                   AND REQUEST FOR 12-PERSON JURY TRIAL

        Plaintiff Peter Wirth, in his representative capacity as Personal Representative of the

Estate of Santiago Sebastian Ortiz, deceased, and Plaintiffs Sandra Correa and Santiago Ortiz,

together bring their Complaint following the fatal personal injuries suffered by their infant child

Santiago Sebastian Ortiz during birth on August 12, 2017, and for which Defendants are liable.

For their Complaint, Plaintiffs state:

                                          INTRODUCTION

        1.       Sandra Correa went to Defendant PHC-Las Cruces, Inc., d/b/a Memorial Medical

Center of Las Cruces (herein “MMC Hospital”) in Las Cruces, New Mexico on August 11, 2017,

and for the delivery of her third child. Mrs. Correa had obtained regular prenatal care, and her

son Santiago was due on September 18, 2017.


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        2.       Defendant Ifeyinwa Obi, a certified nurse midwife working at Defendant MMC

Hospital, was then assigned to attend to Ms. Correa.

        3.       By assigning Ms. Correa’s case to Defendant Obi Defendant MMC Hospital

created a reasonable belief in Plaintiffs that Defendant Obi was an employee or agent of MMC

Hospital.

        4.       Between 7:27 p.m. on August 11, and 6:06 a.m. on August 12, Defendant Obi

ordered and discontinued the use of Pitocin, monitored but failed to appreciate the vital signs of

both Sandra and her unborn son, and coached Ms. Correa through labor and delivery. Defendant

Obi also unsuccessfully attempted to perform pelvic examinations, and repeatedly asked for

assistance from MMC Hospital nurses in performing her tasks.

        5.       In the over 11 hours Ms. Correa was in labor, MMC Hospital’s nursing staff

charted repeated patterns of fetal distress evident by the deceleration patterns in the infant fetal

heartrate.

        6.       Defendant Obi and MMC Hospital nurses failed to timely request the assistance of

an obstetrician or other physician specialist. Ms. Correa and Santiago Ortiz, the infant’s father,

were never advised of the need for an obstetrician or other physician specialist to attend to the

labor and delivery needs of Ms. Correa.

        7.       Defendant Obi and the MMC Hospital nurses and other health care providers did

not timely present or recommend cesarean delivery options to Ms. Correa and her husband

Santiago Ortiz.

        8.       At approximately 5:06 a.m. on the morning of August 12, Defendant Obi left Ms.

Correa to assist with a pregnancy delivery in the emergency department of MMC Hospital, and



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again presented a reasonable belief to Plaintiffs that Defendant Obi was MMC Hospital’s

employee or agent.

        9.       Defendant Obi returned to Sandra Correa at 5:20 a.m., read the fetal monitor strip,

and then for the first time requested the assistance of a physician.

        10.      Defendant Dr. Vittorio Taleon arrived to attend to Ms. Correa’s delivery 46

minutes later.

        11.      By undertaking and assuming labor and delivery care for Ms. Correa, Dr. Taleon

created a reasonable belief to Plaintiffs that Dr. Taleon was MMC Hospital’s employee or agent.

        12.      Prior to 6:00 a.m. on August 12 Ms. Correa’s infant son Santiago was monitored

by ultrasound recording fetal heartrate.

        13.      In the course of Ms. Correa’s labor and her infant son Santiago’s delivery, Dr.

Taleon identified shoulder dystocia.

        14.      Unable to release Santiago’s shoulder, Defendant Dr. Taleon then attempted a

vaginal delivery by repeatedly applying a vacuum extraction device to Santiago’s head, and to

pull Santiago for delivery.

        15.      At 6:34 a.m. Santiago’s head was delivered, however, six minutes later Defendant

Dr. Taleon was still unable to make progress with delivery, and called for an emergency

caesarean delivery. Ms. Correa was rushed into the operating room with only Santiago’s head

delivered.

        16.      At 6:53 a.m. Santiago was delivered by a caesarean procedure in the operating

room, but was pulseless and without respiration.

        17.      Resuscitation efforts to revive Santiago were unsuccessful and he was pronounced



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dead at 7:14 a.m.

        18.      On August 14, 2017, the findings of the Office of the Medical Investigator (OMI)

by an autopsy identified the birthing trauma Santiago suffered to include two scalloped fractures

of his skull, occipital calvarium, subscalpular, and subgaleal hemorrhage, and acute subarachnoid

hemorrhage. The autopsy also identified other blunt extremity traumas, lacerations and

contusions.

        19.      The OMI autopsy identified the cause of Santiago’s death to be complications of

labor and delivery.

                              JURISDICTION, VENUE AND PARTIES

        20.      Plaintiff Peter Wirth is a licensed New Mexico attorney and a resident of Santa Fe,

New Mexico. On August 15, 2019, Mr. Wirth was appointed Personal Representative of the

Estate of Santiago Sebastian Ortiz. Mr. Wirth’s appointment was made pursuant to the New

Mexico Wrongful Death Act.

        21.      Plaintiff Sandra Correa is the mother of Santiago, deceased, and is a resident of

Hatch, New Mexico.

        22.      Plaintiff Santiago Ortiz (Mr. Ortiz) is the father of Santiago Sebastian Ortiz,

deceased, and is the husband of Sandra Correa. Mr. Ortiz is also a resident of Hatch, New

Mexico.

        23.      The acts and omissions which are the basis of this Complaint occurred on August

11, 2017, and August 12, 2017, in Las Cruces, New Mexico.

        24.      In August of 2017, Defendant PHC-Las Cruces, Inc., d/b/a Memorial Medical

Center of Las Cruces was a New Mexico corporation, which owned and operated a hospital



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facility in Las Cruces, New Mexico, doing business as Memorial Medical Center (herein also

MMC Hospital).

        25.      Defendant PHC-Las Cruces, Inc. may be served by its registered agent at Kemp

Smith, LLP, 3800 E. Lohman Avenue, Ste. C, Las Cruces, NM 88011-8273.

        26.      Defendant PHC-Las Cruces, Inc. has identified itself as a “qualified health

care provider”, and in August of 2017, under the New Mexico Medical Malpractice Act.

        27.      If Defendant PHC-Las Cruces, Inc. was in actuality a “qualified healthcare

provider” under the New Mexico Medical Malpractice Act in August of 2017, all statutory pre-

filing requirements of the Act for Defendant PHC-Las Cruces, Inc. have been satisfied.

        28.      In August of 2017, Defendant PHC-Las Cruces, Inc., was a subsidiary of

Defendant LifePoint Health, Inc.

        32.      In August of 2017, Defendant LifePoint Health, Inc. exercised certain controls

over operations, staffing, administration, employment, training, technology, procedures and

policies for Defendant PHC-Las Cruces, Inc., d/b/a MMC Hospital.

        33.      Defendant LifePoint Health, Inc. is a foreign corporation organized under laws of

the State of Tennessee, and in August of 2017, was transacting business at MMC Hospital and

elsewhere in the State of New Mexico.

        34.      Defendant LifePoint Health, Inc. may be served with process upon an authorized

person at its corporate office, 330 Seven Springs Way, Brentwood, TN 37027, or by its registered

agent: CT Corporation System, 800 South Gay Street, Ste. 2021, Knoxville, TN 3729-9710.

        35.      In August of 2017, Defendant LifePoint Health, Inc. was not a “qualified

healthcare provider” under the New Mexico Medical Malpractice Act.



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        36.      In August of 2017, Defendant LifePoint RC, Inc. was a foreign corporation

organized under laws of the State of Delaware, and was transacting business in New Mexico at

MMC Hospital and elsewhere in the State of New Mexico.

        37.      Defendant LifePoint RC, Inc., like Defendant PHC-Las Cruces, Inc., is also a

subsidiary of Defendant LifePoint Health, Inc.

        38.      Defendant LifePoint RC, Inc. may be served with process upon an authorized

person at its principal office, 330 Seven Springs Way, Brentwood, TN 37027, or by its registered

agent in New Mexico: CT Corporation System, 206 S. Coronado Avenue, Espanola, NM 87532-

2792.

        39.      In August of 2017, Defendant LifePoint RC, Inc. was not a “qualified health care

provider” under the New Mexico Medical Malpractice Act.

        40.      Defendant LifePoint Health, Inc., as the parent corporation of Defendant LifePoint

RC, Inc., and as the parent corporation of Defendant PHC-Las Cruces, Inc., d/b/a Memorial

Medical Center, and acting through its subsidiary corporations, derives substantial economic

benefits from its business activities in the State of New Mexico, and maintains intentional,

substantial, continuous and systematic contacts within New Mexico exercised in the control,

operations, management, administration, staffing, procedures and policies of MMC Hospital.

        41.      Defendant LifePoint Health, Inc., Defendant LifePoint RC, Inc., and Defendant

PHC-Las Cruces, Inc., d/b/a Memorial Medical Center act as alter egos for each other. Defendant

LifePoint Health, Inc. and Defendant LifePoint RC, Inc. are collectively referred to herein as

“Defendant LifePoint”.

        42.      In August of 2017, Defendant Vittorio Taleon, M.D. was a licensed obstetrician



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practicing in Las Cruces and Dona Ana County, New Mexico.

        43.      In August of 2017, Defendant Dr. Taleon was not a “qualified health care

provider” under the New Mexico Medical Malpractice Act.

        44.      In August of 2017, Defendant Dr. Taleon practiced medicine as an employee,

agent or apparent agent of, Defendant PHC-Las Cruces, Inc., d/b/a MMC Hospital.

        45.      In August of 2017, Defendant Dr. Taleon practiced medicine as an employee,

agent or apparent agent of, Defendant La Clinica, Inc.

        46.      In August of 2017, Defendant Dr. Taleon practiced medicine as an employee,

agent or apparent agent of, Defendant First Step Center, Inc.

        47.      Defendant Dr. Taleon may be served with process at 385 Calle de Alegra, Las

Cruces, New Mexico 88005, or wherever he may be found.

        48.      In August of 2017, Defendant La Clinica de Familia, Inc. (herein “Defendant La

Clinica, Inc.”) was a New Mexico corporation offering and providing medical services at its

principal place of business, 385 Calle de Alegra, Bldg. A, Las Cruces, New Mexico 88005.

        49.      In August of 2017, Defendant La Clinica, Inc. was not a “qualified health care

provider” under the New Mexico Medical Malpractice Act.

        50.      Defendant La Clinica, Inc. may be served with process by its registered agent Jesus

Prieto at 385 Calle de Alegre, Building A, Las Cruces, NM 88005.

        51.      Alternatively, Defendant La Clinica, Inc. may assert that in August of 2017 it was

a Federally Qualified Health Care Center.

        52.      Alternatively, if Defendant La Clinica, Inc. asserts that in August of 2017 it was a

Federally Qualified Health Care Center, La Clinica, Inc. , it may assert it operates as an agency of



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the United States Government.

        53.      Upon information and belief the United States of America, through the federal

government, directed certain operations and provided partial funding of Defendant La Clinica,

Inc. in August of 2017.

        54.      Alternatively asserted, if La Clinica, Inc. and First Step, Inc. were Federally

Qualified Health Centers in August of 2017, the United States of America was a principal or is

otherwise liable for these Defendants as agents, respondeat superior, or other vicarious or

statutory liability for these Defendants.

        55.      In August of 2017, Defendant Ifeyinwa Obi was a nurse midwife practicing in Las

Cruces and Dona Ana County, New Mexico.

        56.      In August of 2017, Defendant Obi was not a “qualified health care provider” under

the New Mexico Medical Malpractice Act.

        57.      In August of 2017, Defendant Obi was a nurse midwife employed by, or an agent

or apparent agent of, Defendant PHC-Las Cruces, Inc., d/b/a MMC Hospital.

        58.      In August of 2017, Defendant Obi was a nurse midwife employed by, or an agent

or apparent agent of, Defendant La Clinica, Inc.

        59.      In August of 2017, Defendant Obi was a nurse midwife employed by, or an agent

or apparent agent of, Defendant First Step Center, Inc.

        60.      Defendant Obi may be served with process at 1729 University Avenue S, Apt.

E30, Fairbanks, Alaska, 99709-4937, or wherever she may be found.

        61.      In August of 2017, Defendant First Step Center, Inc. (herein “Defendant First Step,

Inc.”) was a domestic New Mexico non-profit corporation.



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        62.      In August of 2017, Defendant First Step, Inc. was not a “qualified health care

provider” under the New Mexico Medical Malpractice Act.

        63.      Defendant First Step Center, Inc. is presently not in good standing, and its

corporate status is currently reported by the New Mexico Secretary of State to have been revoked.

        64.      Alternatively, in 2017 Defendant First Step, Inc. was a dba for Defendant La

Clinica, Inc.

        65.      Alternatively, in 2017 Defendant First Step, Inc. and Defendant La Clinica, Inc.

were alter-egos of each other.

        66.      Alternatively, Defendant First Step, Inc. may assert it was a Federally Qualified

Health Care Center in August of 2017.

        67.      Alternatively and upon information and belief, Defendant First Step, , Inc. may

assert that as a Federally Qualified Health Care Center, La Clinica, Inc. operates as an agency of

the United States Government.

        68.      Defendant First Step, Inc. may be served with process by its registered agent, Reta

K. Warren, at its principal place of business 390 Calle de Alegra, Las Cruces, NM 88005.

        69.      In August of 2017, Defendant Linda Vasquez, RN was a registered nurse

employed at MMC Hospital.

        70.      In August of 2017, Defendant Linda Vasquez, RN, was not a qualified health care

provider under the New Mexico Medical Malpractice Act, §41-5-1 through §41-5-29, NMSA

1978.

        71.      Linda Vasquez, RN may be served with process at 2450 S. Telshor Blvd, Las

Cruces, New Mexico 88011, or wherever she may be found.



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        72.      Jurisdiction of the parties and subject matter are proper in this Court.

        73.      Venue is proper before this Court pursuant to §38-3-1 NMSA 1978.

                                          FACTUAL ALLEGATIONS

        74.      On August 11, 2017, Sandra Correa presented herself at Defendant MMC Hospital

at approximately 7:01 p.m., and 34.4 weeks pregnant.

        75.      Before August 11, 2017, Ms. Correa had two children by vaginal births, and

delivered without complications.

        76.      Before August 11, 2017, Sandra Correa received prenatal care at Defendant La

Clinica, Inc.

        77.      Ms. Correa’s pregnancy in 2017 was complicated by diagnosed gestational

diabetes, for which she received prescribed prenatal care and medication.

        78.      Based upon her prenatal care and ultrasound monitoring, Ms. Correa was identified

by a doctor at Defendant La Clinica, Inc., Dr. Jose L. Gonzales, to be at increased risk for birth

injury without the appropriate level of medical attention to her pregnancy, labor and delivery.

        79.      Ms. Correa was never advised by her physicians or health care providers to elect or

consent to a cesarean delivery of her infant son Santiago.

        80.      When Ms. Correa arrived at MMC Hospital on August 11, 2017, she reported to

Obstetrics Triage that her amniotic membranes had ruptured at approximately 5:50 p.m. that same

evening, or just over an hour earlier.

        81.      When Ms. Correa was admitted to MMC Hospital, a fetal monitor was placed on

Santiago which recorded the infant was normally reactive and stable.




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        82.      Upon admission to MMC Hospital Sandra Correa’s medical care was initially

assumed under Defendant Obi, a certified nurse midwife. Defendant Obi first saw Ms. Correa at

7:27 p.m. on August 11, 2017.

        83.      Defendant Obi was assigned to care for Ms. Correa at Defendant MMC Hospital,

and to perform delivery of Ms. Correa’s son, however Defendant Obi was not a provider chosen

or selected by Ms. Correa upon her presentation or admission at MMC Hospital.

        84.      At the time Defendant Obi was assigned to direct the care of Ms. Correa, and the

delivery of Ms. Correa’s son Santiago, MMC Hospital created a reasonable belief that Defendant

Obi was MMC Hospital’s employee, agent or apparent agent.

        85.      At 7:27 p.m. on August 11, Sandra Correa received a pelvic examination, and was

determined by Defendant Obi to be fully dilated at 10.0 cm.

        86.      At 7:28 p.m. on August 11, Sandra Correa received a pelvic examination, and was

determined by Linda Vasquez, RN to be fully dilated at 10.0 cm.

        87.      At 8:51 p.m. Sandra was administered Pitocin. The MMC Hospital chart does not

document who issued this order.

        88.      At 10:50 p.m. the Pitocin being administered to Sandra was ordered to be

decreased from 2 units to 1 unit (milliunits). Here again the MMC Hospital chart does not

identify who issued this revised order.

        89.      At 1:58 a.m. on August 12, Defendant Obi unsuccessfully attempted a sterile

vaginal exam (SVE) of Ms. Correa.




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        90.      At 2:10 a.m. Defendant Obi requested that Krystal Stephens, RN, perform the SVE

of Ms. Correa. RN Stephens performed the vaginal exam and determined Ms. Correa to be

dilated at 6 cm.

        91.      Following Sandra’s admission to MMC Hospital’s Labor and Delivery unit,

Sandra and Santiago were then monitored throughout the evening hours of August 11, and

continuing into and through the early morning hours of the following day, August 12, 2017.

        92.      At 2:20 a.m. Defendant Obi unsuccessfully attempted to place a fetal scalp

electrode on Santiago.

        93.      At 3:04 a.m. Defendant Obi ordered an increase to the Pitocin being administered

Sandra. Two minutes later, at 3:06 a.m., this Pitocin order was discontinued.

        94.      At 3:09 a.m. Defendant Obi performed an SVE, and again determined Sandra to be

fully dilated at 10 cm, and 100% effaced.

        95.      At 3:22 a.m. Defendant Obi coached and encouraged Sandra’s pushing efforts with

contractions.

        96.      At 3:55 a.m. Defendant Obi then ordered Ms. Correa to rest and “labor down”.

        97.      Between 1:00 a.m. and 6:40 a.m., in the early hours of morning on August 12, the

fetal monitor on Santiago recorded a series of fetal deceleration patterns described at times as

repeated, variable and prolonged, and occurring at least 15 times.

        98.      At 5:06 a.m. Defendant Obi left Sandra’s birthing room to attend to a delivery in

the emergency department of MMC Hospital.




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          99.    At 5:20 a.m. Defendant Obi returned to Sandra’s room and care, read Santiago’s

fetal monitor strip, and only then for the first time Defendant Obi requested the assistance of an

attending physician on call.

          100.   Prior to 5:20 a.m. on August 12, Defendant Obi had not reacted to the series of

fetal deceleration patterns by requesting consultation or assistance from an obstetrician or medical

doctor.

          101.   Prior to 5:20 a.m. on August 12, MMC Hospital nurses had not reacted to the

series of fetal deceleration patterns by requesting consultation or assistance from an obstetrician

or medical doctor.

          102.   At 6:06 a.m. Defendant Dr. Taleon arrived in Ms. Correa’s room 46 minutes after

he was called by Defendant Obi.

          103.   At 6:12 a.m. Defendant Dr. Taleon ordered Pitocin be resumed for Sandra’s labor.

          104.   At 6:17 a.m. the Neonatal Intensive Care Unit (NICU) of MMC Hospital was

called in to assist with Sandra’s labor and delivery.

          105.   At a time indeterminate from the MMC Hospital records, Dr. Taleon identified and

announced Santiago was presenting with shoulder dystocia.

          106.   At 6:22 a.m. Dr. Taleon continued his efforts to deliver Santiago vaginally by

applying a vacuum extraction device to Santiago’s head. At 6:24 the vacuum extraction device

was off.

          107.   At 6:29 a.m. Dr. Taleon ordered an increase in the Pitocin being administered

Sandra.




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         108.    At 6:29 a.m. the vacuum extraction device was on Santiago’s head. At 6:32 a.m.

the vacuum extraction device was off.

         109.    At 6:33 a.m. the vacuum extraction device was on Santiago’s head.

         110.    At 6:34 a.m. Santiago’s head was delivered vaginally.

         111.    At 6:35 the vacuum extraction device was off Santiago’s head.

         112.    At 6:36 a.m. Defendant Dr. Taleon performed an episiotomy in his unsuccessful

effort to deliver Santiago vaginally.

         113.    At 6:40 a.m. Defendant Dr. Taleon abandoned his unsuccessful efforts to deliver

Santiago vaginally, and ordered a STAT caesarean delivery.

         114.    Prior to 6:40 a.m. on August 12, and on 32 occasions, Santiago’s heart rate had

been monitored by external ultrasound and charted. Santiago’s heart rate remained “moderately

variable” in relation to his baseline heartrate.

         115.    Between 3:00 a.m. and 6:40 a.m. on August 12, however, and on 7 occasions,

Santiago’s heart rate had been monitored and charted with fetal heart rate decelerations described

as late, variable and prolonged.

         116.    At 6:40 a.m. what would be the last fetal heart rate assessment of Santiago was

charted. At that time Santiago’s fetal heart rate remained moderately within his baseline heart

rate.

         117.    At 6:45 a.m. Sandra was rushed into the operating room with only Santiago’s head

delivered.

         118.    Santiago was delivered by caesarian section in the operating room at 6:53 a.m.




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         119.    At his delivery Santiago was pulseless and without spontaneous respiration.

Santiago was blue in color and was entirely non-responsive.

         120.    In an effort to resuscitate Santiago, he was intubated by endotracheal tube and

chest compressions and chemical resuscitations were administered. All failed.

         121.    Santiago was pronounced dead at 7:14 a.m. by Dr. Roman Alvarez.

         122.    Sandra Correa was in her second stage labor for a total of 11 hours and 40 minutes,

from 7:27 p.m. on August 11 fully dilated, to 6:40 a.m. on August 12.

         123.    On August 14, 2017, an autopsy of Santiago was performed by Christopher

Liverman, MD, PhD, and by Ian Paul, MD, both with the Office of the Medical Investigator

(OMI).

         124.    The OMI autopsy of Santiago identified findings of severe trauma including two

scalloped fractures of the infant’s skull.

         125.    The OMI autopsy also identified multiple traumatic brain injuries including

occipital calvarium, subscalpular, and subgaleal hemorrhage, and identified acute subarachnoid

hemorrhage.

         126.    Santiago’s autopsy also identified multiple other blunt extremity traumas,

lacerations and contusions.

         127.    The OMI autopsy pathologists concluded the cause of Santiago’s death to be

“complications of labor and delivery”.




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                                COUNT I
            MEDICAL NEGLIGENCE OF DEFENDANT IFEYINWA OBI, CNM

        128.     Plaintiffs hereby incorporate the preceding contentions by reference.

        129.     In August of 2017, Defendant Ifeyinwa Obi, held herself out to Plaintiffs as a

certified nurse midwife possessing the skill and qualifications to deliver Santiago, and to care for

the labor and delivery of Sandra Correa.

        130.     Defendant Obi owed Plaintiffs a duty to possess and apply the knowledge, skill

and care ordinarily used by a reasonably well-qualified nurse midwife, performing labor and

delivery procedures, and under the circumstances present and the locality involved.

        131.     Defendant Obi negligently failed to apply the ordinary knowledge, skill and care

required of a nurse midwife in the labor and delivery of Santiago, and did so in multiple ways

including without limitation:

            a)   Defendant Obi negligently failed to appreciate and respond to Ms. Correa’s
                 prolonged and delayed second stage of labor, and the non-progression of labor and
                 delivery, evident from fetal ultrasound monitoring;

            b)   Defendant Obi negligently failed to anticipate and appreciate evident
                 complications attendant to the progression and lack of progression in Sandra
                 Correa’s delivery of Santiago;

            c)   Defendant Obi negligently failed to appreciate, assess, evaluate, respond to and
                 treat Sandra Correa and Santiago to the required standard of care for an infant in
                 fetal distress;

            d)   Defendant Obi negligently failed to timely advise Sandra Correa to elect a
                 caesarean delivery;

            e)   Defendant Obi negligently failed to request the necessary assistance from, and
                 consultation by, an obstetrician or other qualified specialist, and for assessment of
                 a caesarean delivery of Santiago;




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            f)   Defendant Obi negligently failed to tell Sandra Correa that a medical doctor and
                 obstetrician was needed for Sandra Correa and Santiago to receive proper
                 treatment;

            g)   Defendant Obi negligently failed to timely request or order a caesarean delivery of
                 Santiago;

            h)   Defendant Obi negligently failed to order, administer, continue and monitor the
                 Pitocin received by Sandra Correa during progression of her labor;

            i)   Defendant Obi negligently caused or contributed to the birthing trauma injuries
                 suffered by Santiago including mechanical injuries caused by use of a vacuum
                 extraction device applied to Santiago’s head;

            j)   Defendant Obi negligently caused or contributed to the blunt head trauma and
                 occipital calvarium fractures Santiago suffered during his birth;

            k)   Defendant Obi negligently caused or contributed to acute subarachnoid
                 hemorrhage Santiago suffered during his birth;

            l)   Defendant Obi negligently caused or contributed to subscapular and subgaleal
                 hemorrhage Santiago suffered during his birth;

            m) Defendant Obi negligently caused or contributed to blunt extremity traumas,
               laceration to right axilla, and contusions to the left and right upper extremities, all
               which Santiago suffered during his birth; and

            n)   Defendant Obi negligently caused or contributed to blunt chest traumas, contusions
                 and abrasions, all which Santiago suffered during his birth.

         132.    The negligent acts and omissions of Defendant Obi were a cause of physical

injuries, and pain and suffering, experienced by Santiago during birth.

         133.    The negligent acts and omissions of Defendant Obi were a cause of Sebastian’s

death.

         134.    The negligent acts and omissions of Defendant Obi were a cause of the loss of

consortium experienced by Plaintiffs Sandra Correa and Santiago Ortiz as the result of their son

Santiago’s death.



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        135.     The negligent acts and omissions of Defendant Obi were a cause of extreme

emotional distress experienced by Plaintiffs Sandra Correa and Santiago Ortiz during the delivery

of their son Santiago.

        136.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Obi was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant MMC Hospital.

        137.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Obi was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant La Clinica, Inc.

        138.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Obi was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant First Step, Inc.

        139.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Obi was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant LifePoint Health, Inc.

        140.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Obi was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant LifePoint RC, Inc.

        WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant

Ifeyinwa Obi, and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;

                 (b)   physical injuries, pain and suffering endured by Santiago;


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                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                          i. expenses for reasonable and necessary medical treatment,
                         ii. funeral and burial expenses, and
                        iii. the value of loss of life of Santiago;

                 (d)   the negligent infliction of extreme emotional distress experienced by
                       Plaintiffs;

                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

                 (g)   pre- and post-judgment interest; and

                 (h)   such other relief the Court deems just.

                                COUNT II
          MEDICAL NEGLIGENCE OF DEFENDANT VITTORIO TALEON, M.D.

        141.     Plaintiffs hereby incorporate the preceding contentions by reference.

        142.     In August of 2017, Defendant Dr. Vittorio Taleon, M.D, held himself out as

medical specialist in the field of obstetrics, and in the practice of performing labor and delivery

medical procedures in Las Cruces, New Mexico.

        143.     Defendant Dr. Taleon owed Plaintiffs Sandra Correa, Santiago Ortiz, and infant

Santiago, the duty to possess and apply the knowledge, skill and care ordinarily used by a

reasonably well-qualified physician specialized in obstetrics, and practicing this specialized field

of medicine including labor and delivery medical procedures, and under similar circumstances for

the locality involved.

        144.     Defendant Dr. Taleon negligently failed to apply the ordinary knowledge, skill and

care required in the labor and delivery of Plaintiff Sandra Correa’s son Santiago, and did so in

multiple ways including without limitation:



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            a)   Defendant Dr. Taleon negligently failed to appreciate and respond to Ms. Correa’s
                 prolonged and delayed second stage of labor, and the non-progression of labor and
                 delivery, evident from fetal ultrasound monitoring;

            b)   Defendant Dr. Taleon negligently failed to anticipate and appreciate evident
                 complications attendant to the progression and lack of progression in Sandra
                 Correa’s delivery of Santiago;

            c)   Defendant Dr. Taleon negligently failed to appreciate, assess, evaluate, respond to
                 and treat Sandra Correa, and Santiago, to the required standard of care for an infant
                 in fetal distress;

            d)   Defendant Dr. Taleon negligently failed to timely advise Sandra Correa to elect a
                 caesarean delivery;

            e)   Defendant Dr. Taleon negligently failed to timely request or order a caesarean
                 delivery of Santiago;

            f)   Defendant Dr. Taleon negligently failed to order, administer and monitor the
                 Pitocin received by Sandra Correa during progression of her labor;

            g)   Defendant Dr. Taleon negligently caused or contributed to the birthing trauma
                 injuries suffered by Santiago including mechanical injuries caused by use of a
                 vacuum extraction device applied to Santiago’s head, and which device was
                 Defendant Dr. Taleon’s responsibility to manage and control;

            h)   Defendant Dr. Taleon negligently caused or contributed to the blunt head trauma
                 and occipital calvarium fractures Santiago suffered during his birth;

            i)   Defendant Dr. Taleon negligently caused or contributed to acute subarachnoid
                 hemorrhage Santiago suffered during his birth;

            j)   Defendant Dr. Taleon negligently caused or contributed to subscapular and
                 subgaleal hemorrhage Santiago suffered during his birth;

            k)   Defendant Dr. Taleon negligently caused or contributed to blunt extremity
                 traumas, laceration to right axilla, and contusions to the left and right upper
                 extremities, all which Santiago suffered during his birth; and

            l)   Defendant Dr. Taleon negligently caused or contributed to blunt chest traumas,
                 contusions and abrasions, all which Santiago suffered during his birth.




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        145.     The negligent acts and omissions of Defendant Dr. Taleon were a cause of

physical injuries, and pain and suffering, experienced by Santiago during birth.

        146.     The negligent acts and omissions of Defendant Dr. Taleon were a cause of

Santiago’s death.

        147.     The injuries to and death of Santiago were proximately caused by the negligent use

of the vacuum extraction device, which was Defendant Dr. Taleon’s responsibility to manage and

control.

        148.     The injuries to and death of Santiago were proximately caused by the negligent use

of the vacuum extraction device, and were of a kind which does not ordinarily occur in the

absence of negligence by a person in control of the vacuum extraction device.

        149.     Defendant Dr. Taleon’s control of the vacuum extraction device used to deliver

Santiago is circumstantial evidence of medical negligence, and res ipsa loquitur.

        150.     The negligent acts and omissions of Defendant Dr. Taleon were a cause of the loss

of consortium experienced by Plaintiffs Sandra Correa and Santiago Ortiz as the result of their

son Santiago’s death.

        151.     The negligent acts and omissions of Defendant Dr. Taleon were a cause of the

extreme emotional distress experienced by Plaintiffs Sandra Correa and Santiago Ortiz during and

perceiving the delivery of their son Santiago.

        152.     At all times relevant to his care of Sandra Correa and the delivery of Santiago,

Defendant Dr. Taleon was acting in the course and scope of his employment with, or as an agent

or apparent agent of, Defendant MMC Hospital.

        153.     At all times relevant to his care of Sandra Correa and the delivery of Santiago,


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Defendant Dr. Taleon was acting in the course and scope of his employment with, or as an agent

or apparent agent of, Defendant La Clinica, Inc.

        154.     At all times relevant to his care of Sandra Correa and the delivery of Santiago,

Defendant Dr. Taleon was acting in the course and scope of his employment with, or as an agent

or apparent agent of, Defendant First Step, Inc.

        155.     At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Dr. Taleon was acting in the course and scope of his employment with, or as an agent

or apparent agent of, Defendant LifePoint Health, Inc.

        156.     At all times relevant to his care of Sandra Correa and the delivery of Santiago,

Defendant Dr. Taleon was acting in the course and scope of his employment with, or as an agent

or apparent agent of, Defendant LifePoint RC, Inc.

        WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant Dr.

Vittorio Taleon, and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;

                 (b)   physical injuries, pain and suffering endured by Santiago;

                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                          i. expenses for reasonable and necessary medical treatment,
                         ii. funeral and burial expenses, and
                        iii. the value of loss of life of Santiago;

                 (d)   the negligent infliction of extreme of emotional distress experienced by
                       Plaintiffs;

                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

                 (g)   pre- and post-judgment interest; and

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                 (h)   such other relief the Court deems just.

                                    COUNT III
                  NEGLIGENCE OF DEFENDANT PHC-LAS CRUCES, INC.
                   D/B/A DEFENDANT MEMORIAL MEDICAL CENTER

        157.     Plaintiffs hereby incorporate the preceding contentions by reference.

        158.     By holding itself out to the public as a hospital providing emergency medical

services, and in offering and providing Sandra Correa and Santiago with medical care, healthcare

providers, nurse midwife, nursing staff, treatment facilities, specialized medical equipment, and

other labor and delivery medical services, Defendant PHC-Las Cruces, Inc., d/b/a Defendant

MMC Hospital owed Plaintiffs Sandra Correa, Santiago Ortiz and Santiago Sebastian Ortiz, a

duty to use ordinary care to provide, staff, employ, credential, supervise, train, and retain well-

qualified physicians, nurse midwives, nursing staff, and other healthcare providers, and to provide

healthcare facilities, necessary to deliver Santiago for Sandra Correa, necessary to have delivered

a healthy and fully viable infant child, and necessary to have prevented the death of Santiago.

        159.     By holding itself out to the public as a hospital providing emergency medical

services, and in offering and providing Sandra Correa and Santiago with medical care, healthcare

providers, nurse midwife, nursing staff, treatment facilities, specialized medical equipment, and

other labor and delivery medical services, Defendant PHC-Las Cruces, Inc., d/b/a Defendant

MMC Hospital owed Plaintiffs Sandra Correa, Santiago Ortiz and Santiago Sebastian Ortiz, a

duty to possess and apply the knowledge and to use the skill and care ordinarily used in

reasonably well-operated hospitals under similar circumstances, and giving due consideration to

the locality involved.




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        160.     Defendant MMC Hospital negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers operating from and within the MMC Hospital, required by labor

and delivery for Sandra Correa and for infant Santiago, as were required to have delivered a

healthy and fully viable infant child, and to have prevented Santiago’s death.

        161.     Defendant MMC Hospital negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers required by labor and delivery for Sandra Correa and required to

have prevented Santiago’s death.

        162.     Defendant MMC Hospital negligently failed to staff, schedule, employ, credential,

supervise, train and retain the physicians, nurse midwives, nurses, hospital staff and such other

healthcare providers required by labor and delivery for Sandra Correa and Santiago, and did so in

multiple ways including without limitation:

            a)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to staff MMC Hospital with the qualified and competent
                 health care providers to provide necessary labor and delivery services between
                 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017, as required by Sandra
                 Correa and Santiago;

            b)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to schedule MMC Hospital staffing with qualified and
                 competent health care providers to provide necessary labor and delivery services
                 between 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017, as required
                 by Sandra Correa and Santiago;

            c)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to schedule MMC Hospital with a qualified, experienced
                 and competent nurse midwife to provide necessary labor and delivery services
                 between 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017, as required
                 by Sandra Correa and Santiago;


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            d)   Defendant MMC Hospital, acting by and through its employees, agents or apparent
                 agents, negligently failed to respond to Ms. Correa’s prolonged and delayed
                 second stage of labor and delivery, and to evident fetal distress presented by
                 Santiago from ultrasound monitoring and fetal heartrate;

            e)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to appreciate and timely respond to fetal distress
                 experienced by Santiago and evident by recurrent and prolonged fetal heartrate
                 deceleration patterns evident by ultrasound monitoring;

            f)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to timely advise Sandra Correa for caesarean option to
                 deliver Santiago;

            g)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to timely order a caesarean delivery of Santiago;

            h)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to implement and assure labor and delivery procedures
                 for orders in the administration of Pitocin;

            i)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently caused birthing trauma to Santiago by use of MMC Hospital
                 equipment and a vacuum extraction device and procedure given Santiago’s
                 condition and development;

            j)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to anticipate and appreciate complications attendant to
                 Plaintiff Sandra Correa’s pregnancy and to the birth of Santiago;

            k)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently caused or contributed to blunt head trauma and occipital
                 calvarium fractures suffered by Santiago during birth caused by equipment and
                 tools of MMC Hospital;

            l)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently acute subarachnoid hemorrhaging suffered by Santiago during
                 birth caused by equipment and tools of MMC Hospital;

            m) Defendant MMC Hospital, by and through its employees, agents or apparent
               agents, negligently caused subscapular and subgaleal hemorrhaging suffered by
               Santiago during birth caused by equipment and tools of MMC Hospital;




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            n)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently caused the blunt extremity traumas, laceration to right axilla,
                 and contusions to the left and right upper extremities suffered by Santiago during
                 birth;

            o)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently caused the blunt chest traumas, contusions and abrasions
                 suffered by Santiago during birth; and

            p)   Defendant MMC Hospital, by and through its employees, agents or apparent
                 agents, negligently failed to appreciate and respond to Sandra Correa and Santiago
                 to the required standard of care for the evident infant in fetal heartrate distress and
                 the prolonged second stage of labor.

        163.     The acts and omissions of Defendant MMC Hospital, acting through its

employees, agents and apparent agents, were a proximate cause of Santiago’s personal injuries,

pain and suffering, and death, as well as the personal injuries, pain and suffering and emotional

trauma suffered by Sandra Correa and Santiago Ortiz as parents, and of Plaintiffs’ other damages.

        164.     At all times relevant to the labor and delivery of Sandra Correa and Santiago,

Defendant MMC Hospital, exercised control over its employees, agents, apparent agents,

physicians, nurse midwives, nurses, technicians and other hospital staff involved in that care.

        165.     In the labor and delivery of Sandra Correa and Santiago, the negligent acts or

omissions of Defendant MMC Hospital, its employees, agents, apparent agents, physicians, nurse

midwives, nurses, technicians and other hospital staff occurred while said persons were acting in

the course and scope of their employment with, or as agents or apparent agents of, Defendant

MMC Hospital.

        166.     In the labor and delivery of Sandra Correa and Santiago, Defendant MMC Hospital

is liable for the acts and omissions of those persons involved in that care, and which were

performed within the scope of their employment with, or as agents or apparent agents of,



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Defendant MMC Hospital.

        167.     Defendant MMC Hospital, authorized Defendant Dr. Taleon to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant MMC Hospital.

        168.     In the labor and delivery of Sandra Correa and Santiago, Defendant Dr. Taleon,

was an employee, agent or apparent agent of Defendant MMC Hospital, and was at all relevant

times acting within the course and scope of that employment, agency, or apparent agency with

Defendant MMC Hospital.

        169.     Defendant MMC Hospital, authorized Defendant Obi to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant MMC Hospital.

        170.     In the labor and delivery of Sandra Correa and Santiago, Defendant Obi, was an

employee, agent or apparent agent of Defendant MMC Hospital, and was at all relevant times

acting within the course and scope of that employment, agency, or apparent agency with

Defendant MMC Hospital.

        171.     Defendant MMC Hospital, authorized Defendant Vasquez to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant MMC Hospital.




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        172.     In the labor and delivery of Sandra Correa and Santiago, Defendant Vasquez, was

an employee, agent or apparent agent of Defendant MMC Hospital, and was at all relevant times

acting within the course and scope of that employment, agency, or apparent agency with

Defendant MMC Hospital.

        173.     In the labor and delivery of Sandra Correa and Santiago, other MMC Hospital

nurses and staff involved in that care, were employees, agents or apparent agents of Defendant

MMC Hospital, and were at all relevant times acting within the course and scope of that

employment, agency, or apparent agency with Defendant MMC Hospital.

        174.     In the labor and delivery of Sandra Correa and Santiago, other Defendant MMC

Hospital nurses and medical providers were acting within the course and scope of their

employment with, or as agents or apparent agents of, Defendant MMC Hospital.

        175.     Defendant MMC Hospital is liable to Plaintiffs for its own negligent acts or

omissions, and the negligent acts and omissions committed by MMC Hospital’s employees,

agents and apparent agents.

        WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant

MMC Hospital, and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;

                 (b)   physical injuries, pain and suffering endured by Santiago;

                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                          i. expenses for reasonable and necessary medical treatment,
                         ii. funeral and burial expenses, and
                        iii. the value of loss of life of Santiago;

                 (d)   the negligent infliction of extreme of emotional distress experienced by
                       Plaintiffs;


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                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

                 (g)   pre- and post-judgment interest; and

                 (h)   such other relief the Court deems just.

                                  COUNT IV
                NEGLIGENCE OF DEFENDANT LIFEPOINT HEALTH, INC.
                            AND LIFEPOINT RC, INC.

        176.     Plaintiffs hereby incorporate the preceding contentions by reference.

        177.     By holding itself out to the public as a hospital providing emergency medical

services, and in offering and providing Sandra Correa and Santiago with medical care, healthcare

providers, nurse midwife, nursing staff, treatment facilities, specialized medical equipment, and

other labor and delivery medical services, Defendant LifePoint Health, Inc. and Defendant

LifePoint RC, Inc. (herein collectively “Defendant LifePoint”), owed Plaintiffs Sandra Correa,

Santiago Ortiz and Santiago Sebastian Ortiz, a duty and to use ordinary care to provide, staff,

employ, credential, supervise, train, and retain well-qualified physicians, nurse midwives, nursing

staff, and other healthcare providers, and to provide healthcare facilities, necessary to deliver

Santiago for Sandra Correa, necessary to have delivered a healthy and fully viable infant child,

and necessary to have prevented the death of Santiago.

        178.     By holding itself out to the public as a hospital providing emergency medical

services, and in offering and providing Sandra Correa and Santiago with medical care, healthcare

providers, nurse midwife, nursing staff, treatment facilities, specialized medical equipment, and

other labor and delivery medical services, Defendant LifePoint owed Plaintiffs Sandra Correa,



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Santiago Ortiz and Santiago Sebastian Ortiz, a duty and to possess and apply the knowledge and

to use the skill and care ordinarily used in reasonably well-operated hospitals under similar

circumstances, and giving due consideration to the locality involved.

        179.     Defendant LifePoint negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers operating from and within the MMC Hospital, required by labor

and delivery for Sandra Correa, and required to have delivered a healthy and fully viable infant

child, and to have prevented Santiago’s death.

        180.     Defendant LifePoint negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers required by labor and delivery for Sandra Correa, and required to

have prevented Santiago’s death.

        181.     Defendant LifePoint negligently failed to staff, schedule, employ, credential,

supervise, train and retain the physicians, nurse midwives, nurses, hospital staff and such other

healthcare providers required by labor and delivery for Sandra Correa and Santiago, and did so in

multiple ways including without limitation:

       a.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to staff MMC Hospital with the qualified and competent health care
             providers to provide necessary labor and delivery services between 7:01 p.m., August
             11, 2017, and 6:06 a.m., August 12, 2017, as required by Sandra Correa and Santiago;

       b.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to schedule MMC Hospital staffing with qualified and competent
             health care providers to provide necessary labor and delivery services between 7:01
             p.m., August 11, 2017, and 6:06 a.m., August 12, 2017, as required by Sandra Correa
             and Santiago;



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       c.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to schedule MMC Hospital with a qualified, experienced and
             competent nurse midwife to provide necessary labor and delivery services between
             7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017, as required by Sandra
             Correa and Santiago;

       d.    Defendant LifePoint, acting by and through its employees, agents or apparent agents,
             negligently failed to respond to Ms. Correa’s prolonged and delayed second stage of
             labor and delivery, and to evident fetal distress presented by Santiago from ultrasound
             monitoring and fetal heartrate;

       e.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to appreciate and timely respond to fetal distress experienced by
             Santiago and evident by recurrent and prolonged fetal heartrate deceleration patterns
             evident by ultrasound monitoring;

       f.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to timely advise Sandra Correa for caesarean option to deliver
             Santiago;

       g.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to timely order a caesarean delivery of Santiago;

       h.    Defendant LifePoint, by and through its employees, agents or apparent agents,
             negligently failed to implement and assure labor and delivery procedures for orders in
             the administration of Pitocin;

        i. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently caused birthing trauma to Santiago by use of MMC Hospital equipment
           and a vacuum extraction device and procedure given Santiago’s condition and
           development;

        j. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently failed to anticipate and appreciate complications attendant to Plaintiff
           Sandra Correa’s pregnancy and to the birth of Santiago;

        k. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently caused or contributed to blunt head trauma and occipital calvarium
           fractures suffered by Santiago during birth caused by equipment and tools of MMC
           Hospital;

        l. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently acute subarachnoid hemorrhaging suffered by Santiago during birth caused
           by equipment and tools of MMC Hospital;


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        m. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently caused subscapular and subgaleal hemorrhaging suffered by Santiago
           during birth caused by equipment and tools of MMC Hospital;

        n. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently caused the blunt extremity traumas, laceration to right axilla, and
           contusions to the left and right upper extremities suffered by Santiago during birth;

        o. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently caused the blunt chest traumas, contusions and abrasions suffered by
           Santiago during birth; and

        p. Defendant LifePoint, by and through its employees, agents or apparent agents,
           negligently failed to appreciate and respond to Sandra Correa and Santiago to the
           required standard of care for the evident infant in fetal heartrate distress and a
           prolonged second stage of labor.

        182.     The acts and omissions of Defendant LifePoint, acting through its employees,

agents and apparent agents, were a proximate cause of Santiago’s personal injuries, pain and

suffering, and death, as well as the personal injuries, pain and suffering and emotional trauma

suffered by Sandra Correa and Santiago Ortiz as parents, and of Plaintiffs’ other damages.

        183.     At all times relevant to the labor and delivery of Sandra Correa and Santiago,

Defendant LifePoint, exercised control over its employees, agents, apparent agents, physicians,

nurse midwives, nurses, technicians and other hospital staff involved in that care.

        184.     In the labor and delivery of Sandra Correa and Santiago, the negligent acts or

omissions of Defendant LifePoint, its employees, agents, apparent agents, physicians, nurse

midwives, nurses, technicians and other hospital staff, all occurred while said persons were acting

in the course and scope of their employment with, or as agents or apparent agents of, Defendant

LifePoint.




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        185.     In the labor and delivery of Sandra Correa and Santiago, Defendant LifePoint is

liable for the acts and omissions of those persons involved in that care, and which were performed

within the scope of their employment with, or as agents or apparent agents of, Defendant

LifePoint.

        186.     Defendant LifePoint, authorized Defendant Dr. Taleon to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant LifePoint.

        187.     In the labor and delivery of Sandra Correa and Santiago, Defendant Dr. Taleon,

was an employee, agent or apparent agent of Defendant LifePoint, and was at all relevant times

acting within the course and scope of that employment, agency, or apparent agency with

Defendant LifePoint.

        188.     Defendant LifePoint, authorized Defendant Obi to offer and provide medical

services for labor and delivery of Sandra Correa and Santiago, and in a manner which created a

reasonable belief on the part of Sandra Correa that these services were being rendered by

Defendant LifePoint.

        189.     In the labor and delivery of Sandra Correa and Santiago, Defendant Obi, was an

employee, agent or apparent agent of Defendant LifePoint, and was at all relevant times acting

within the course and scope of that employment, agency, or apparent agency with Defendant

LifePoint.

        190.     Defendant LifePoint, authorized Defendant Vasquez to offer and provide medical

services for labor and delivery of Sandra Correa and Santiago, and in a manner which created a


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reasonable belief on the part of Sandra Correa that these services were being rendered by

Defendant LifePoint.

        191.     In the labor and delivery of Sandra Correa and Santiago, Defendant Vasquez, was

an employee, agent or apparent agent of Defendant LifePoint, and was at all relevant times acting

within the course and scope of that employment, agency, or apparent agency with Defendant

LifePoint.

        192.     In the labor and delivery of Sandra Correa and Santiago, other MMC Hospital

nurses and staff involved in that care, were employees, agents or apparent agents of Defendant

LifePoint, and were at all relevant times acting within the course and scope of that employment,

agency, or apparent agency with Defendant LifePoint.

        193.     In the labor and delivery of Sandra Correa and Santiago, other MMC Hospital

nurses and medical providers of Defendant LifePoint, were acting within the course and scope of

their employment with, or as agents or apparent agents of, Defendant LifePoint.

        194.     Defendant LifePoint is liable to Plaintiffs for the negligent acts or omissions

committed by MMC Hospital’s employees, agents and apparent agents.

        WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant

LifePoint, and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;
                 (b)   physical injuries, pain and suffering endured by Santiago;

                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                          i. expenses for reasonable and necessary medical treatment,
                         ii. funeral and burial expenses, and
                        iii. the value of loss of life of Santiago;




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                 (d)   the negligent infliction of extreme of emotional distress experienced by
                       Plaintiffs;

                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

                 (g)   pre- and post-judgment interest; and

                 (h)   such other relief the Court deems just.

                                 COUNT V
             NEGLIGENCE OF DEFENDANT LA CLINICA DE FAMILIA, INC.
                   AND DEFENDANT FIRST STEP CENTER, INC.

        195.     Plaintiffs hereby incorporate the preceding contentions by reference.

        196.     In offering and providing Sandra Correa and Santiago Sebastian with medical care,

healthcare providers, nurse midwife, nursing staff, treatment facilities, specialized medical

equipment, and other labor and delivery medical services, Defendant La Clinica de Familia, Inc.

and Defendant First Step Center, Inc. (herein collectively “Defendant La Clinica, Inc.), owed

Plaintiffs Sandra Correa, Santiago Ortiz and Santiago Sebastian, a duty to use ordinary care to

provide, staff, employ, credential, supervise, train, and retain well-qualified physicians, nurse

midwives, nursing staff, and other healthcare providers, and to provide healthcare facilities,

necessary to deliver Santiago for Sandra Correa, necessary to have delivered a healthy and fully

viable infant child, and necessary to have prevented the death of Santiago.

        197.     In offering and providing Sandra Correa and Santiago Sebastian with medical care,

healthcare providers, nurse midwife, nursing staff, treatment facilities, specialized medical

equipment, and other labor and delivery medical services, Defendant La Clinica, Inc. owed

Plaintiffs Sandra Correa, Santiago Ortiz and Santiago, a duty to possess and apply the knowledge



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and to use the skill and care ordinarily used in reasonably well-operated hospitals under similar

circumstances, and giving due consideration to the locality involved.

        198.     Defendant La Clinica, Inc. negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers operating from and within the MMC Hospital, required by labor

and delivery for Sandra Correa, and required to have delivered a healthy and fully viable infant

child, and to have prevented Santiago’s death.

        199.     Defendant La Clinica, Inc. negligently failed to provide, staff, schedule, employ,

credential, supervise, train, and retain the physicians, nurse midwives, nurses, hospital staff and

such other healthcare providers required by labor and delivery for Sandra Correa, and required to

have prevented Santiago’s death.

        200.     Defendant La Clinica, Inc. negligently failed to staff, schedule, employ, credential,

supervise, train and retain the physicians, nurse midwives, nurses, hospital staff and such other

healthcare providers required by labor and delivery for Sandra Correa and Santiago, and did so in

multiple ways including without limitation:

                a. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to staff MMC Hospital with the qualified and
                   competent health care providers to provide necessary labor and delivery
                   services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017,
                   as required by Sandra Correa and Santiago;

                b. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to schedule MMC Hospital staffing with qualified and
                   competent health care providers to provide necessary labor and delivery
                   services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017,
                   as required by Sandra Correa and Santiago;




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                c. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to schedule MMC Hospital with a qualified,
                   experienced and competent nurse midwife to provide necessary labor and
                   delivery services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August
                   12, 2017, as required by Sandra Correa and Santiago;

                d. Defendant La Clinica, Inc., acting by and through its employees, agents or
                   apparent agents, negligently failed to respond to Ms. Correa’s prolonged and
                   delayed second stage of labor and delivery, and to evident fetal distress
                   presented by Santiago from ultrasound monitoring and fetal heartrate;

                e. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to appreciate and timely respond to fetal distress
                   experienced by Santiago and evident by recurrent and prolonged fetal heartrate
                   deceleration patterns evident by ultrasound monitoring;

                f. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to timely advise Sandra Correa for a caesarean option
                   to deliver Santiago;

                g. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to timely order a caesarean delivery of Santiago;

                h. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to implement and assure labor and delivery
                   procedures for orders in the administration of Pitocin;

                i. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently caused birthing trauma to Santiago by use of Hospital
                   equipment and a vacuum extraction device procedure given Santiago’s
                   condition and development;

                j. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to anticipate and appreciate complications attendant to
                   Plaintiff Sandra Correa’s pregnancy and to the birth of Santiago;

                k. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently caused or contributed to blunt head trauma and occipital
                   calvarium fractures suffered by Santiago during birth caused by equipment and
                   tools of MMC Hospital;

                l. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently acute subarachnoid hemorrhaging suffered by Santiago
                   during birth caused by equipment and tools of MMC Hospital;


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                m. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently caused subscapular and subgaleal hemorrhaging suffered by
                   Santiago during birth caused by equipment and tools of MMC Hospital;

                n. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently caused the blunt extremity traumas, laceration to right axilla,
                   and contusions to the left and right upper extremities suffered by Santiago
                   during birth;

                o. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently caused the blunt chest traumas, contusions and abrasions
                   suffered by Santiago during birth; and

                p. Defendant La Clinica, Inc., by and through its employees, agents or apparent
                   agents, negligently failed to appreciate and respond to Sandra Correa and
                   Santiago to the required standard of care for the evident infant in fetal heartrate
                   distress and the prolonged second stage of labor.

        201.     The acts and omissions of Defendant La Clinica, Inc., acting through its

employees, agents and apparent agents, were a proximate cause of Santiago’s personal injuries,

pain and suffering, and death, as well as the personal injuries, pain and suffering and emotional

trauma suffered by Sandra Correa and Santiago Ortiz as parents, and of Plaintiffs’ other damages.

        202.     At all times relevant to the labor and delivery of Sandra Correa and Santiago,

Defendant La Clinica, Inc., exercised control over its employees, agents, apparent agents,

physicians, nurse midwives, nurses, technicians and other hospital staff involved in that care.

        203.     In the labor and delivery of Sandra Correa and Santiago, the negligent acts or

omissions of Defendant La Clinica, Inc., its employees, agents, apparent agents, physicians, nurse

midwives, nurses, technicians and other hospital staff, all occurred while said persons were acting

in the course and scope of their employment with, or as agents or apparent agents of, Defendant

La Clinica, Inc.




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        204.     In the labor and delivery of Sandra Correa and Santiago, Defendant La Clinica,

Inc. is liable for the acts and omissions of those persons involved in that care, and which were

performed within the scope of their employment with, or as agents or apparent agents of,

Defendant La Clinica, Inc.

        205.     In the labor and delivery of Sandra Correa and Santiago, Defendant Dr. Taleon,

was an employee, agent or apparent agent of Defendant La Clinica, Inc., and was at all relevant

times acting within the course and scope of that employment, agency, or apparent agency with

Defendant La Clinica, Inc.

        206.     Defendant La Clinica, Inc., authorized Defendant Dr. Taleon to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant La Clinica, Inc.

        207.     In the labor and delivery of Sandra Correa and Santiago, Defendant Obi, was an

employee, agent or apparent agent of Defendant La Clinica, Inc., and was at all relevant times

acting within the course and scope of that employment, agency, or apparent agency with

Defendant La Clinica, Inc.

        208.     Defendant La Clinica, Inc., authorized Defendant Obi to offer and provide

medical services for labor and delivery of Sandra Correa and Santiago, and in a manner which

created a reasonable belief on the part of Sandra Correa that these services were being rendered

by Defendant La Clinica, Inc.

        209.     In the labor and delivery of Sandra Correa and Santiago at MMC Hospital, other

physicians, midwives, nurses and other staff involved in that care, were employees, agents or


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apparent agents of Defendant La Clinica, Inc., and were at all relevant times acting within the

course and scope of that employment, agency, or apparent agency with Defendant La Clinica, Inc.

          210.   In the labor and delivery of Sandra Correa and Santiago, other La Clinica, Inc.

physicians, midwives, nurses and medical providers were acting within the course and scope of

their employment with, or as agents or apparent agents of, Defendant La Clinica, Inc.

          211.   Defendant La Clinica, Inc. is liable to Plaintiffs for the negligent acts or omissions

committed by Defendant La Clinica, Inc.’s employees, agents and apparent agents.

          212.   Alternatively argued, the United States of America is liable to Plaintiffs for the

negligent acts or omissions of Defendants La Clinica, Inc. as a Federally Qualified Health Care

Center.

          WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant La

Clinica, Inc., and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;

                 (b)   physical injuries, pain and suffering endured by Santiago;

                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                           i.  expenses for reasonable and necessary medical treatment,
                          ii.  funeral and burial expenses, and
                         iii.  the value of loss of life of Santiago;

                 (d)   the negligent infliction of extreme of emotional distress experienced by
                       Plaintiffs;

                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

                 (g)   pre- and post-judgment interest; and

                 (h)   such other relief the Court deems just.

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                                        COUNT VI
                         LIABILITY OF UNITED STATES OF AMERICA

        213.     Plaintiffs hereby incorporate the preceding contentions by reference.

        214.     Alternatively argued, in offering and providing Sandra Correa and Santiago

Sebastian with medical care, healthcare providers, nurse midwife, nursing staff, treatment

facilities, specialized medical equipment, and other labor and delivery medical services, through

what Defendants may contend to be a Federally Qualified Health Care Center, Defendant United

States of America owed Plaintiffs Sandra Correa, Santiago Ortiz and Santiago Sebastian, a duty to

use ordinary care to provide, staff, employ, credential, supervise, train, and retain well-qualified

physicians, nurse midwives, nursing staff, and other healthcare providers, and to provide

healthcare facilities, necessary to deliver Santiago for Sandra Correa, necessary to have delivered

a healthy and fully viable infant child, and necessary to have prevented the death of Santiago.

        215.     Alternatively argued, in offering and providing Sandra Correa and Santiago

Sebastian with medical care, healthcare providers, nurse midwife, nursing staff, treatment

facilities, specialized medical equipment, and other labor and delivery medical services, through

what Defendants may contend to be a Federally Qualified Health Care Center, Defendant United

States of America owed Plaintiffs Sandra Correa, Santiago Ortiz and Santiago, a duty to possess

and apply the knowledge and to use the skill and care ordinarily used in reasonably well-operated

hospitals under similar circumstances, and giving due consideration to the locality involved.

        216.     Alternatively argued, Defendant United States of America negligently failed to

provide, staff, schedule, employ, credential, supervise, train, and retain the physicians, nurse

midwives, nurses, hospital staff and such other healthcare providers including those operating


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from and within the MMC Hospital, required by labor and delivery for Sandra Correa, and

required to have delivered a healthy and fully viable infant child, and to have prevented

Santiago’s death.

        217.     Alternatively argued, Defendant United States of America negligently failed to

provide, staff, schedule, employ, credential, supervise, train, and retain the physicians, nurse

midwives, nurses, hospital staff and such other healthcare providers required by labor and

delivery for Sandra Correa, and required to have prevented Santiago’s death.

        218.     Alternatively argued, Defendant United States of America negligently failed to

staff, schedule, employ, credential, supervise, train and retain the physicians, nurse midwives,

nurses, hospital staff and such other healthcare providers required by labor and delivery for

Sandra Correa and Santiago, and did so in multiple ways including without limitation:

                a. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to staff MMC Hospital with the qualified and
                   competent health care providers to provide necessary labor and delivery
                   services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August 12, 2017,
                   as required by Sandra Correa and Santiago;

                b. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to schedule MMC Hospital staffing with
                   qualified and competent health care providers to provide necessary labor and
                   delivery services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August
                   12, 2017, as required by Sandra Correa and Santiago;

                c. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to schedule MMC Hospital with a qualified,
                   experienced and competent nurse midwife to provide necessary labor and
                   delivery services between 7:01 p.m., August 11, 2017, and 6:06 a.m., August
                   12, 2017, as required by Sandra Correa and Santiago;

                d. Defendant United States of America, acting by and through its employees,
                   agents or apparent agents, negligently failed to respond to Ms. Correa’s
                   prolonged and delayed second stage of labor and delivery, and to evident fetal
                   distress presented by Santiago from ultrasound monitoring and fetal heartrate;

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                e. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to appreciate and timely respond to fetal
                   distress experienced by Santiago and evident by recurrent and prolonged fetal
                   heartrate deceleration patterns evident by ultrasound monitoring;

                f. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to timely advise Sandra Correa for a
                   caesarean option to deliver Santiago;

                g. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to timely order a caesarean delivery of
                   Santiago;

                h. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to implement and assure labor and delivery
                   procedures for orders in the administration of Pitocin;

                i. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently caused birthing trauma to Santiago by use of
                   Hospital equipment and a vacuum extraction device procedure given Santiago’s
                   condition and development;

                j. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to anticipate and appreciate complications
                   attendant to Plaintiff Sandra Correa’s pregnancy and to the birth of Santiago;

                k. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently caused or contributed to blunt head trauma and
                   occipital calvarium fractures suffered by Santiago during birth caused by
                   equipment and tools of MMC Hospital;

                l. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently acute subarachnoid hemorrhaging suffered by
                   Santiago during birth caused by equipment and tools of MMC Hospital;

                m. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently caused subscapular and subgaleal hemorrhaging
                   suffered by Santiago during birth caused by equipment and tools of MMC
                   Hospital;

                n. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently caused the blunt extremity traumas, laceration to



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                    right axilla, and contusions to the left and right upper extremities suffered by
                    Santiago during birth;

                o. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently caused the blunt chest traumas, contusions and
                   abrasions suffered by Santiago during birth; and

                p. Defendant United States of America, by and through its employees, agents or
                   apparent agents, negligently failed to appreciate and respond to Sandra Correa
                   and Santiago to the required standard of care for the evident infant in fetal
                   heartrate distress and the prolonged second stage of labor.

        219.     Alternatively argued, the acts and omissions of Defendant United States of

America, acting through its employees, agents and apparent agents, were a proximate cause of

Santiago’s personal injuries, pain and suffering, and death, as well as the personal injuries, pain

and suffering and emotional trauma suffered by Sandra Correa and Santiago Ortiz as parents, and

of Plaintiffs’ other damages.

        220.     Alternatively argued, and at all times relevant to the labor and delivery of Sandra

Correa and Santiago, Defendant United States of America, exercised control over its employees,

agents, apparent agents, physicians, nurse midwives, nurses, technicians and other hospital staff

involved in that care.

        221.     Alternatively argued, in the labor and delivery of Sandra Correa and Santiago, the

negligent acts or omissions of Defendant United States of America, its employees, agents,

apparent agents, physicians, nurse midwives, nurses, technicians and other hospital staff, all

occurred while said persons were acting in the course and scope of their employment with, or as

agents or apparent agents of, Defendant United States of America.

        222.     Alternatively argued, in the labor and delivery of Sandra Correa and Santiago,

Defendant United States of America is liable for the acts and omissions of those persons involved



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in that care, and which were performed within the scope of their employment with, or as agents or

apparent agents of, Defendant United States of America.

        223.     Alternatively argued, in the labor and delivery of Sandra Correa and Santiago,

Defendant Dr. Taleon, was an employee, agent or apparent agent of Defendant United States of

America, and was at all relevant times acting within the course and scope of that employment,

agency, or apparent agency with Defendant United States of America.

        224.     Alternatively argued, Defendant United States of America authorized Defendant

Dr. Taleon to offer and provide medical services for labor and delivery of Sandra Correa and

Santiago, and in a manner which created a reasonable belief on the part of Sandra Correa that

these services were being rendered by Defendant La Clinica, Inc. or by Defendant Dr. Taleon, or

by Defendant MMC Hospital.

        225.     Alternatively argued, in the labor and delivery of Sandra Correa and Santiago,

Defendant Obi, was an employee, agent or apparent agent of Defendant United States of America,

and was at all relevant times acting within the course and scope of that employment, agency, or

apparent agency with Defendant La Clinica, Inc.

        226.     Alternatively argued, Defendant United States of America authorized Defendant

Obi to offer and provide medical services for labor and delivery of Sandra Correa and Santiago,

and in a manner which created a reasonable belief on the part of Sandra Correa that these services

were being rendered by Defendant La Clinica, Inc. or by Defendant Obi or by Defendant MMC

Hospital

        227.     Alternatively argued, in the labor and delivery of Sandra Correa and Santiago at

MMC Hospital, other physicians, midwives, nurses and other staff involved in that care, were


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employees, agents or apparent agents of Defendant United States of America, and were at all

relevant times acting within the course and scope of that employment, agency, or apparent agency

with Defendant United States of America.

        228.     In the labor and delivery of Sandra Correa and Santiago, other La Clinica, Inc.

physicians, midwives, nurses and medical providers were acting within the course and scope of

their employment with, or as agents or apparent agents of, Defendant United States of America.

        229.     Alternatively argued, Defendant United States of America is liable to Plaintiffs for

the negligent acts or omissions committed by Defendant La Clinica, Inc.’s employees, agents and

apparent agents.

        230.     Alternatively argued, the United States of America is liable to Plaintiffs for the

negligent acts or omissions controlled by Defendants La Clinica, Inc.’s employees, agents and

apparent agents.

        WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant

United States of America and for:

                 (a)   physical injuries, pain and suffering endured by Sandra Correa;

                 (b)   physical injuries, pain and suffering endured by Santiago;

                 (c)   wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                           i.  expenses for reasonable and necessary medical treatment,
                          ii.  funeral and burial expenses, and
                         iii.  the value of loss of life of Santiago;

                 (d)   the negligent infliction of extreme of emotional distress experienced by
                       Plaintiffs;

                 (e)   the loss of consortium experienced by Plaintiffs including their loss of
                       society, guidance, companionship and parent-child relations;

                 (f)   recoverable court costs;

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                 (g)   pre- and post-judgment interest; and

                 (h)   such other relief the Court deems just.

                                    COUNT VII
                    NEGLIGENCE OF DEFENDANT LINDA VASQUEZ, RN

        231.     Plaintiffs hereby incorporate the preceding contentions by reference.

        232.     In August of 2017, Defendant Linda Vasquez, was employed at MMC Hospital,

where she held herself out to Plaintiffs as possessing the skill and qualifications of a registered

nurse to assist in the labor and delivery required by Sandra Correa and Santiago.

        233.     Defendant Vasquez owed Plaintiffs a duty to possess and apply the knowledge,

skill and care ordinarily used by a reasonably well-qualified registered nurse in labor and delivery

procedures, and under the circumstances present and the locality involved.

        234.     Defendant Vasquez negligently failed to apply the ordinary knowledge, skill and

care required of a registered nurse in the labor and delivery of Santiago and for Sandra Correa,

and did so in multiple ways including without limitation:

            a)   Defendant Vasquez negligently failed to appreciate and respond to Ms. Correa’s
                 prolonged and delayed second stage of labor, and the non-progression of labor and
                 delivery, evident from fetal ultrasound monitoring;

            b)   Defendant Vasquez negligently failed to appreciate and respond to evident
                 complications attendant to the progression and lack of progression in Sandra
                 Correa’s delivery of Santiago;

            c)   Defendant Vasquez negligently failed to appreciate, assess, evaluate, respond to
                 and treat Sandra Correa, and Santiago, to the required standard of care;

            d)   Defendant Vasquez negligently failed to timely request assistance from an
                 obstetrician or other qualified physician specialist;




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            e)   Defendant Vasquez negligently failed to timely advise Sandra Correa of the need
                 for an obstetrician or other qualified physician specialist, and needed for Sandra
                 Correa and Santiago to receive proper treatment; and

            f)   Defendant Vasquez negligently failed to administer, continue and monitor the
                 Pitocin received by Sandra Correa during progression of her labor.

          235.   The negligent acts and omissions of Defendant Vasquez were a cause of physical

injuries, and pain and suffering, experienced by Santiago during birth.

          236.   The negligent acts and omissions of Defendant Vasquez were a cause of

Santiago’s death.

          237.   The negligent acts and omissions of Defendant Vasquez were a cause of the loss of

consortium experienced by Plaintiffs Sandra Correa, and by Santiago Ortiz, as the result of their

son Santiago’s death.

          238.   The negligent acts and omissions of Defendant Vasquez were a cause of the

extreme emotional distress experienced by Plaintiffs Sandra Correa and Santiago Ortiz during the

delivery of their son Santiago.

          239.   At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Vasquez was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant MMC Hospital, and for which this Defendant is vicariously liable.

          240.   At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Vasquez was acting in the course and scope of her employment with, or as an agent or

apparent agent of, Defendant LifePoint Health, Inc., and for which this Defendant is vicariously

liable.

          241.   At all times relevant to her care of Sandra Correa and the delivery of Santiago,

Defendant Vasquez was acting in the course and scope of her employment with, or as an agent or


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apparent agent of, Defendant LifePoint RC, Inc., and for which this Defendant is vicariously

liable.

          WHEREFORE Plaintiffs request entry of a judgment for damages against Defendant

Linda Vasquez, RN, and for:

                 (a) physical injuries, pain and suffering endured by Sandra Correa;

                 (b) physical injuries, pain and suffering endured by Santiago;

                 (c) wrongful death damages of the Estate of Santiago Sebastian Ortiz including:
                         i. expenses for reasonable and necessary medical treatment,
                        ii. funeral and burial expenses, and
                       iii. the value of loss of life of Santiago;

                 (d) the negligent infliction of extreme emotional distress experienced by Plaintiffs;

                 (e) the loss of consortium experienced by Plaintiffs including their loss of society,
                       guidance, companionship and parent-child relations;

                 (f) recoverable court costs;

                 (g) pre- and post-judgment interest; and

                 (h) such other relief the Court deems just.

                                    COUNT VIII
                  PLAINTIFFS SANDRA CORREA AND SANTIAGO ORTIZ
                               LOSS OF CONSORTIUM

          242.   Plaintiffs hereby incorporate the preceding contentions by reference.

          243.   Plaintiffs Sandra Correa and Santiago Ortiz are the parents of Santiago Sebastian

Ortiz, who died during delivery and birth on August 12, 2017, at Defendant MMC Hospital.

          244.   As a direct and proximate result of the Defendants’ negligence, Plaintiffs Sandra

Correa and Santiago Ortiz have suffered emotional distress due to the loss of society with, and

companionship of, their child in the past, and for the remainder of their lives.



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          245.    As a direct and proximate result of the Defendants’ negligence, Plaintiffs Sandra

Correa and Santiago Ortiz have been, and forever will be, deprived of the companionship of their

deceased child, Santiago, and have suffered and will suffer in the future emotional distress from

their loss of consortium.

          WHEREFORE Plaintiffs Sandra Correa and Santiago Ortiz, individually, request entry of

a judgment for damages against Defendants for Plaintiffs’ loss of consortium, including their

mental anguish and emotional distress, and for such other relief as the Court deems just and

proper.

                                     COUNT IX
                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                 TO BYSTANDERS SANDRA CORREA AND SANTIAGO ORTIZ

          246.    Plaintiffs hereby incorporate the preceding contentions by reference.

          247.    Sandra Correa and Santiago Ortiz had a close family relationship to their infant son

Santiago.

          248.    During efforts to deliver their son Santiago including use of a vacuum extraction

device to pull Santiago’s head, Plaintiffs Sandra Correa and Santiago Ortiz suffered severe

emotional distress, and will continue to suffer severe emotional distress in their future.

          249.    As a direct and proximate result of the Defendants’ negligence, and seeing and

experiencing the injuries to Santiago suffered during his birth, Plaintiffs Sandra Correa and

Santiago Ortiz have suffered severe emotional distress as the result of their son’s physical injuries

and death. Their emotional distress is of such an intensity and duration that no ordinary person

should be expected to tolerate that distress.




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        WHEREFORE Plaintiffs Sandra Correa and Santiago Ortiz request entry of a judgment

for damages against Defendants for negligent infliction of emotional distress, and the severe

emotional distress they have suffered together, and for such other relief as the Court deems just

and proper.

                            SANTIAGO SEBASTIAN ORTIZ ESTATE’S
                               WRONGFUL DEATH DAMAGES

        250.     Plaintiffs hereby incorporate the preceding contentions by reference.

        251.     As a direct result of the negligent acts and omissions of Defendants described

herein, the Estate of Santiago Sebastian Ortiz is entitled to those damages established by the New

Mexico Wrongful Death Act, including but not limited to:

                 a)       reasonable expenses of necessary medical care and treatment;

                 b)       funeral and burial expenses;

                 c)       value of Santiago ’s loss of life, and apart from earning capacity;

                 d)       consideration of mitigating or aggravating circumstances attending the
                          wrongful act, negligence and death;

                 e)       loss to beneficiaries of other expected benefits that have a monetary value;

                 f)       loss of enjoyment of life; and

                 g)       such other damages contemplated by law as determined by a jury.

        WHEREFORE, the Estate of Santiago Sebastian Ortiz requests entry of judgment for

those damages recoverable pursuant to New Mexico Wrongful Death Act, and for recoverable

costs, pre- and post-judgment interest, and such other relief the Court deems just.




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                                 TWELVE-PERSON JURY DEMAND

        Plaintiffs also respectfully request trial by a twelve-person jury for all issues and damages.

The required jury fee is tendered with the filing of Plaintiffs’ Complaint.



                                              Respectfully submitted,

                                              CERVANTES SCHERR LEGATE, LC

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